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                UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF TEXAS
                     HOUSTON DIVISION

UNITED STATES OF AMERICA, §
        Respondent,       §
                          §              CRIM. NO. 4:12-CR-503
    v.                    §
                          §              CIVIL NO. 4:21-CV-662
JASON DANIEL GANDY,       §
        Movant.           §

    UNITED STATES’ UNOPPOSED MOTION TO CONTINUE
                EVIDENTIARY HEARING

     Without opposition from § 2255 movant Jason Daniel Gandy, the

United States respectfully requests that this Court continue the

evidentiary hearing currently scheduled for September 9, 2021, until a

date convenient for this Court during the first week of November 2021.

     Undersigned counsel was recently assigned to represent the United

States at the evidentiary hearing because the previously assigned AUSA

will be out of the office on extended leave. After being assigned to the

matter, undersigned counsel began the process to request that Gandy be

transported to this District. In light of the date of that request and

additional travel precautions being put in place by the Bureau of Prisons

because of the recent rise in COVID cases nationwide, it is unlikely that
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Gandy could arrive in this District in time for the currently scheduled

hearing on September 9.

     Undersigned counsel has corresponded with Gandy’s current

attorney and two of his previous attorneys who the United States intends

to call as witnesses at the hearing. Based on those conversations, it

appears that both the witnesses and Gandy’s current counsel are

available during the first week of November, if this Court is available and

amenable to scheduling the hearing then. Additionally, resetting the

hearing for such a date will ensure adequate time for Gandy to brought

to this District to appear at the hearing.

     I have spoken with an attorney from the office representing Gandy

in connection with his § 2255 motion who confirmed that he does not

object to this request.

                                Respectfully submitted,

                                JENNIFER B. LOWERY
                                ACTING UNITED STATES ATTORNEY

                                CARMEN CASTILLO MITCHELL
                                Chief, Appellate Division

                          By:   s/ Jason Smith
                                JASON SMITH
                                Assistant United States Attorney


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                     CERTIFICATE OF SERVICE

     I Assistant United States Attorney Jason Smith certify that a true

and correct copy of United States’ Unopposed Motion to Continue

Evidentiary Hearing was electronically filed with the United States

District Court for the Southern District of Texas, on August 19, 2021, and

served on counsel of record via the Court’s ECF system.


                                   /s/ Jason Smith
                                   JASON SMITH
                                   Assistant United States Attorney




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